                           NUMBER 13-16-00298-CV

                           COURT OF APPEALS

                 THIRTEENTH DISTRICT OF TEXAS

                    CORPUS CHRISTI - EDINBURG
____________________________________________________________

LESLIE ANNE GOWER AND/OR
ANY AND ALL OCCUPANTS AND/OR
RESIDENTS OF THE PREMISES,                                             Appellants,

                                         v.

RICHARD WOMELDORF, AS
INDEPENDENT EXECUTOR OF THE
ESTATE OF JOHN W. WOMELDORF, DECEASED,              Appellee.
____________________________________________________________

          On Appeal from the County Court at Law No. 1
                   of Hidalgo County, Texas.
____________________________________________________________

                        MEMORANDUM OPINION
     Before Chief Justice Valdez and Justices Garza and Longoria
                  Memorandum Opinion Per Curiam

      Appellants, Leslie Anne Gower and/or any and all Occupants and/or Residents of

the Premises, appealed a judgment entered by the County Court at Law No. 1 of Hidalgo
County, Texas. On June 3, 2016, the Clerk of this Court requested that appellant pay

the filing fee for this appeal. On July 19, 2016, the Clerk of this Court notified appellant,

in accordance with Texas Rule of Appellate Procedure 42.3(c), that we would dismiss this

appeal unless the $205.00 filing fee was paid. See TEX. R. APP. P. 42.3(c). Appellant

has not responded to the notice from the Clerk or paid the $205.00 filing fee. See TEX.

R. APP. P. 5, 12.1(b).

       The Court, having considered the documents on file and appellant’s failure to pay

the filing fee, is of the opinion that the appeal should be dismissed. See id. 42.3(b),(c).

Accordingly, the appeal is DISMISSED for want of prosecution. All pending motions are

likewise DISMISSED.

                                                  PER CURIAM

Delivered and filed this
2nd day of September, 2016.




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